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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    RAUL ENCIZO,                      )       No. CV-F-05-1426 OWW
                                       )       (No. CR-F-03-5237 OWW)
10                                     )
                                       )       MEMORANDUM DECISION AND
11                    Petitioner,      )       ORDER DENYING PETITIONER
                                       )       RAUL ENCIZO'S MOTION TO
12             vs.                     )       VACATE, SET ASIDE OR CORRECT
                                       )       SENTENCE PURSUANT TO 28
13                                     )       U.S.C. § 2255 (Docs. 1 &
     UNITED STATES OF AMERICA,         )       182) AND DIRECTING CLERK OF
14                                     )       COURT TO ENTER JUDGMENT FOR
                                       )       RESPONDENT
15                    Respondent.      )
                                       )
16                                     )

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          Petitioner Raul Encizo, proceeding in pro per, timely filed
19
     a motion to vacate, set aside or correct sentence pursuant to 28
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     U.S.C. § 2255.
21
          The United States has filed an opposition to Petitioner’s
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     motion.
23
          Petitioner pleaded guilty pursuant to a written Plea
24
     Agreement (Doc. 132).    The Plea Agreement provided in pertinent
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     part:
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1                2. Agreements by the Defendant.
                 ...
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                 (b) The defendant agrees to enter a plea of
3                guilty to the superseding information which
                 charges him with using a communications
4                facility to facilitate a drug-trafficking
                 offense, in violation of Title 21, United
5                States Code, section 843(b). The defendant
                 agrees that he is in fact guilty of this
6                charge and that the facts set forth in the
                 factual basis of this agreement are true and
7                accurate.

8                (c) The defendant agrees that he will not
                 request a sentence less than 36 months and
9                not request any downward departures or
                 reductions from his offense level which would
10               result in a sentence of less than that
                 amount.
11
                 ...
12
                 (h) The defendant is aware that Title 18,
13               United States Code, Section 3742 affords a
                 defendant the right to appeal the sentence
14               imposed. Acknowledging this, the defendant
                 knowingly waives the right to appeal his
15               conviction or any sentence (or the manner in
                 which the sentence was determined) which is
16               in accordance with the maximum provided [sic]
                 Title 21, United States Code, Section
17               841(b)(1)(A) on the grounds set forth in
                 Title 18, United States Code, Section 3742 or
18               on any ground whatever, in exchange for the
                 concessions made by the United States in this
19               plea agreement. The defendant also waives
                 his right to challenge his conviction,
20               sentence or the manner in which it was
                 determined in any post-conviction attack,
21               including but not limited to a motion brought
                 under Title 28, United States Code, Section
22               2241 or 2255.

23        On March 7, 2005, Petitioner was sentenced to a term of 41

24   months.   Petitioner did not file an appeal from his conviction or

25   sentence.

26        Petitioner asserts that he is entitled to relief pursuant to

                                         2
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1    Section 2255 due to the ineffective assistance of counsel at

2    sentencing.    Petitioner asserts that counsel was ineffective

3    because (1) Petitioner was entitled to a downward departure in

4    the calculation of his sentence pursuant to United States v.

5    Booker, 543 U.S. 220 (2005); (2) counsel failed to seek a

6    downward departure for aberrant behavior and minor role in the

7    offense; (3) counsel failed to argue Petitioner’s eligibility for

8    the safety valve; and (4) counsel failed to argue that Petitioner

9    was not guilty of violating 18 U.S.C. § 843(b) because no

10   distribution of methamphetamine occurred.

11        A defendant may waive the statutory right to bring a Section

12   2255 motion challenging his conviction or sentence.          The Ninth

13   Circuit holds that a waiver of the right to file a Section 2255

14   motion made pursuant to a negotiated plea agreement is

15   enforceable except with respect to a claim that the waiver or the

16   plea was involuntary or the result of ineffective assistance of

17   counsel.    Washington v. Lambert, 422 F.3d 864, 870-871 (9th

18   Cir.2005), cert. denied, 547 U.S. 1074 (2006).

19        Petitioner makes no claim or showing that the waiver of the

20   right to bring a Section 2255 motion set forth in his Plea

21   Agreement was involuntary or the result of ineffective assistance

22   of counsel.    Petitioner’s waiver is enforceable; Petitioner

23   cannot seek relief pursuant to Section 2255.

24        For the reasons stated:

25        1.    Petitioner Raul Encizo’s motion to vacate, set aside or

26   correct sentence pursuant to 28 U.S.C. § 2255 is DENIED;

                                         3
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1          2.     The Clerk of the Court is directed to enter Judgment for

2    Respondent.

3          IT IS SO ORDERED.

4    Dated:     April 28, 2008              /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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